Case 1:23-mc-00070-LAK-GWG Document 66-7 Filed 08/23/23 Page 1 of 4




                   EXHIBIT 7
To:          KP13[kp13@ua.com]
From:                Case
             Fulks, Kip J. 1:23-mc-00070-LAK-GWG Document 66-7 Filed 08/23/23 Page 2 of 4
Sent:        Mon 1/11/2016 2:33:00 PM (UTC-05:00)
Subject:     Re: Under Armour Inc.: Declining Share and ASPs Dual Threat to Premium Valuation, Downgrade to UW

I would punch him ifhe was at MS ... UBS last ten years ... Sucks and we need to step up.

Kip Fulks

On Jan 11, 2016, at 2:05 PM, KP13 <kp l3@ua.com> wrote:


       You should ask your guy's from MS about this little piece that has erased $2B from our coffers in the last 4.5
       hours

           Sent from my iPhone

           Begin forwarded message:


                From: "Shaw, Tom" <tshaw@underannour.com>
                Date: January 11, 2016 at 7:33:43 AM EST
                To: KP13 <kpl3@ua.com>, "Dickerson, Brad" <bdickerson@underannour.com>, "Molloy,
                Chip" <cmolloy@underannour.com>
                Cc: "Gillard, Carrie" <cgillard@underannour.com>, "Anguilla, Rick"
                <RAnguilla@underannour.com>, "Smith, Jen (Office of CEO)" <jsmith@underannour.com>,
                "Pelkey, Diane" <d elke underannour.com>
                Subject: FW: Under Armour Inc.: Declining Share and ASPs Dual Threat to Premium
                Valuation, Downgrade to UW


                KP,

                We are seeing some noise around our shares this AM led by this downgrade at Morgan Stanley. The
                commentary on SportScan data in nothing new and has been well documented over the past couple of
                months (indicating flattish growth in Apparel while nearly triple-digit growth in Footwear). The ASP data
                is surprising and counter to what we have been seeing and hearing throughout 2015. I have passed
                along to Peter Ruppe and his team to get ammo and will respond accordingly. I'm including Di to keep
                her in the loop.

                We are also seeing several analyst trimming numbers, not just on UA but the entire group. This has
                been a consistent theme in recent weeks and probably amplified after what is being called a more
                subdued atmosphere at the Outdoor Retailer show. In my opinion from walking the floor, our booth had
                some of the best energy at the show and we had a strong combo of stories with Reactor, Footwear, and
                teasing the on-mountain authenticity story.

                TS




                Tom Shaw, CFA
                Director of Investor Relations

                1-~-I
                1020 Hull Street
                Baltimore, MD 21230
                Phone: +1 410-843-7676


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        From: Jay Sole (mailto:Jay.Sole@morganstanle{.com]
        Sent: Monday, January 11, 2016 12:15 AM
        To: Shaw, Tom
        Subject: Under Armour Inc.: Declining Share and ASPs Dual Threat to Premium Valuation, Downgrade to
        uw




             JANUARY         11,   2016    GMT

             Under Armour Inc. (UA.N)




             Declining Share and ASPs Dual Threat to Premium                                                    Morgan Stanley Research
                                                                                                                North America
             Valuation, Downgrade to UW
                                                                                                                Jay Sole
                                                                                                                +1 212 761-5866

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                                                                                                                Jo§ieph      CEA
                                                                                                                +1 212 761-4206
                                                                                                                E:cl'lla1d A_Ryari
                                                                                                                +1 212 761-4384
             Our data shows declining share in women's apparel and falling ASPs in footwear -- categories
             that represent 40% of forecasted growth -- leaving little room for error on a high P/E stock. We
             lower our FY16 estimate by 6% and see 21% PT downside.
                                                                                                                I,)ncjer Armour Inc.
                                                                                                                Stock Rating : Underweight

             What's Changed?                                         From:                To:
                                                                                                                Branded Aooarel & Footwear
                                                                                                                Industry View : In-Line
               Under Armour Inc.

                                                                                                                Ask the Author a ()uestion
             Rating                                                  Equal-weight         Underweight

                                                                                                                Remove mE, fIom this dist1·ibution
             Price Target                                            $103.00              $62.00


             Data indicates near-term earnings uncertainty is more than just weather: Recent
             SportScan data shows UA is losing market share for the first time in 3 years in apparel and,
             more surprisingly, ASPs are falling at an accelerating pace. Both trends are more pronounced
             in women's apparel, despite major marketing investment in this division last year. Though
             warm weather surely explains some of this, we think UA may be reaching maturity in US
             apparel faster than previously thought. Though we remain constructive on UA's int'I
             opportunity, we don't think the shares are priced for a US slowdown.

             UA running footwear prices are down 20% since January 2013, while the industry's are
             down just 4%: UA is now positioned as a mid-tier running brand. UA has always competed on
             brand image and innovation, rarely on price. This change in trend is a major concern because
             this positioning threatens to erode UA's premium brand image and ultimately its long-term
             growth potential. We see a similar theme occurring in basketball footwear.

             We lower our 5-year sales and EPS growth forecasts by 1% and 3%, respectively to 23%

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            and 21%: Our forecast assumes North America revenue grows 19% per year. Our bear case
            Case 1:23-mc-00070-LAK-GWG
            assumes  revenue/EPS growth of 21 % and 16%  Document
                                                           over the next66-7
                                                                         5 years Filed   08/23/23
                                                                                  and includes a furtherPage
                                                                                                         N.  4 of 4
            Am. slowdown to 16%. Though we feel comfortable with our base case, if US women's apparel
            and footwear sales are weaker than we envision, bear case risks rise.

            We lower our UA PT to $62/share from $103: This assumes an 8.5% cost of equity and 4%
            long-term growth rate. The cost of equity has risen 50 bps from our last note due to current
            market pricing for risk. All other assumptions are unchanged. The PT change is 20% based on
            our new EPS estimates, the other 80% on the Ke difference. This indicates just how sensitive to
            a change in risk perception a high P/E stock like UA is. The stock has maintained a premium
            multiple despite downward margin revisions. However, we don't think the stock would hold its
            P/E on a genuine sales miss, which has never happened.



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